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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                AUSTIN DIVISION


CAREER COLLEGES & SCHOOLS OF
TEXAS,

                                 Plaintiff,
                                                                Case No. 1:23-cv-00433-RP
                v.

U.S. DEPARTMENT OF EDUCATION et al.,

                                 Defendants.


                                      JOINT STATUS REPORT

        As a follow up to the parties’ previous joint status report, ECF No. 102, the parties hereby

submit the following joint status report:

        On June 12, 2024, the Fifth Circuit entered an order denying Defendants’ petition for

rehearing en banc. See Career Colleges & Schools of Tex. v. U.S. Dep’t of Educ., No. 23-50491, Dkt. 106-1

(5th Cir. June 12, 2024). On August 29, 2024, the U.S. Supreme Court granted Defendants an

extension of their deadline to file a petition for writ of certiorari to October 10, 2024. Dep’t of Educ. v.

Career Colleges & Schools of Tex., No. 24A221 (S. Ct. Aug. 29, 2024).

        In these circumstances, the parties again submit that the Court should maintain its stay of

further proceedings pending Defendants’ decision whether to seek certiorari and, if applicable, the

Supreme Court’s decision on such petition and ultimate disposition of the appeal. The parties propose

to file another joint status report with this Court within 14 days of either (1) October 10, 2024, if

Defendants do not seek certiorari or (2) the Supreme Court’s disposition of Defendants’ filed petition.

The joint status report will notify the Court of such developments and propose an appropriate

schedule for further proceedings.
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Dated: September 10, 2024                    Respectfully submitted,

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